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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )
11                                         ) Case No. CR.S-04-337-WBS
                           Plaintiff,      )
12                                         )
            v.                             )      STIPULATION AND ORDER;
13                                         )          EXCLUSION OF TIME
                                           )
14                                         )
     LIANNA SUGGETT,                       ) Date: June 1, 2005
15                                         ) Time: 9:00 a.m.
                    Defendant.               Judge: Honorable William B. Shubb
16   _____________________________

17          IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, KEN MELIKIAN, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, attorney for Defendant, that the previously scheduled status

21   conference hearing date of May 18, 2005 be vacated and the matter set

22   for change of plea on June 1, 2005 at 9:00 am.

23          This continuance is requested because defense counsel was

24   preparing for an upcoming trial which was slated to begin today, May

25   17, 2005 and last for 3 weeks in United States v. Boyadjian, CR-S-04-

26   197 FCD.         The case was continued for trial this date and re set for

27   June 28, 2005. Defense counsel will now spend the next 2 weeks in the

28   Stip and Order
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 1   present case, United States v. Suggett, to review discovery with the
 2   defendant, conduct legal research, perform background factual
 3   investigation, and properly prepare for a potential change of plea.
 4          Accordingly, all counsel and the defendant agree that time under
 5   the Speedy Trial Act from the date this stipulation is lodged, through
 6   June 1, 2005, should be excluded in computing the time within which
 7   trial must commence under the Speedy Trial Act, pursuant to Title 18
 8   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 9   DATED:     May 19, 2005.                  Respectfully submitted,
10                                                   QUIN DENVIR
                                                     Federal Public Defender
11
12
     DATED:     May 19, 2005.                        /s/MARK J. REICHEL
13                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
14                                                   Attorney for Defendant
15
                                                     McGREGOR SCOTT
16                                                   United States Attorney
17
18   DATED:     May 19, 2005.                        /s/MARK J. REICHEL for
                                                     KEN MELIKIAN
19                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
20
21                                        O R D E R
22        IT IS SO ORDERED. The court finds that the interests of justice
     in granting the continuance outweighs the public's interest in a speedy
23   trial and therefore time is excluded in the interests of justice
     pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
24
25   DATED: May 18, 2005
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     Stip and Order                            2
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     Stip and Order                            3
